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                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

 ENG CHAMPKUNGSING                                 CRIMINAL ACTION NO. 6:07-60037-05
                                                   CIVIL ACTION NO. 6:10-0166
 VERSUS

 UNITED STATES OF AMERICA                          JUDGE WALTER

                                                   MAGISTRATE JUDGE HILL

                         REPORT AND RECOMMENDATION

        Before the Court is a petition for a writ of habeas corpus filed by pro se

 petitioner, Eng Chamkungsing, on February 5, 2010. While the petition is filed on this

 court’s standardized form for Motions pursuant to 28 U.S.C. § 2255, the petition is

 nevertheless properly construed as having been filed pursuant to 28 U.S.C. § 2241.

 Petitioner does not contest the validity of his sentence, but rather attacks the manner in

 which his sentence is being carried out. Chamkungsign is currently incarcerated at the

 Adams County Correctional Center in Washington, Mississippi. This matter was referred

 to the undersigned Magistrate Judge for review, report, and recommendation.

        For the reasons which follow, the undersigned recommends that this petition be

 TRANSFERRED to the UNITED STATES DISTRICT COURT FOR THE

 SOUTHERN DISTRICT OF MISSISSIPPI.

                                   LAW AND ANALYSIS

        In the instant petition, Champkungsing complains that the Bureau of Prisons has

 discriminated against him based on his nationality and status as an alien by failing to

 allow him to be placed in a halfway house to complete his federal sentence and by failing
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 to permit him to earn a reduction of his sentence by participating in a drug treatment

 program. See 18 U.S.C. § 3621(b) and (e); 18 U.S.C. § 3624(c).

        Section 2241 is the proper vehicle used to attack the manner in which a sentence is

 being executed, and § 2255 is the proper means of attacking errors that occurred during or

 before sentencing. Ojo v. INS, 106 F.3d 680, 683 (5th Cir.1997). A § 2255 petition,

 which contests the validity of the sentence, must be filed in the sentencing court. Lee v.

 Wetzel, 244 F.3d 370, 374 fn. 3 (5 th Cir. 2001) citing Pack v. Yusuff, 218 F.3d 448, 451

 (5th Cir.2000). In contrast, a petition for habeas corpus filed under § 2241 “attacks the

 manner in which a sentence is carried out,” and must be filed in the district with

 jurisdiction over the prisoner or his custodian. Id. citing Pack, 218 F.3d at 451 and

 Braden v. 30th Judicial Circuit Court, 410 U.S. 484, 495, 93 S.Ct. 1123, 35 L.Ed.2d 443

 (1973).

        While petitioner was convicted and sentenced by this court, his present complaints

 do not implicate the validity of his sentence. To the contrary, petitioner’s complaints are

 directed to the manner in which his sentence is being carried out. Indeed, the Fifth

 Circuit has considered complaints similar to those raised by petitioner in the context of

 § 2241 habeas corpus petitions. See Rivkin v. Tamez, 2009 WL 3489428 (5 th Cir. 2009);

 Tischendorf v. Buren, 285 Fed.Appx. 154 (5 th Cir. 2008); Wottlin v. Fleming, 136 F.3d

 1032 (5 th Cir. 1998); Robichaux v. Warden, 70 F.3d 1268 (5 th Cir. 1995); See also

 Wuertenberg v. Young, 2009 WL 4227453 (W.D.La. 2009). Accordingly, this petition is


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 properly construed as a petition for habeas corpus relief filed pursuant to 28 U.S.C. §

 2241.

         The Fifth Circuit has “firmly stated that the district of incarceration is the only

 district that has jurisdiction to entertain a defendant's § 2241 petition.” Lee, 244 F.3d at

 373 citing Hooker v. Sivley, 187 F.3d 680, 682 (5th Cir.1999) (“The district court

 likewise lacked jurisdiction to entertain Hooker's pleading as a § 2241 petition: Such a

 petition must be filed in the district where the prisoner is incarcerated. As Hooker is

 incarcerated in Talladega, Alabama, only the district court for the Northern District of

 Alabama would have jurisdiction to entertain his § 2241 petition.” (internal citations

 omitted)) and Story v. Collins, 920 F.2d 1247, 1251 (5th Cir.1991) (“If the petitioner is a

 federal prisoner, . . . the district court still must have jurisdiction over the prisoner or his

 custodian [to invoke the jurisdictional basis of § 2241].”).

         Furthermore, the grant of a writ of habeas corpus operates against the restraining

 authority. Id. at 374 citing Braden v. 30th Judicial Circuit Court, 410 U.S. 484, 494-95,

 93 S.Ct. 1123, 35 L.Ed.2d 443 (1973). Therefore, the court issuing the writ of habeas

 corpus must have jurisdiction over the petitioner or his custodian. Id. citing Malone v.

 Calderon, 165 F.3d 1234, 1237 (9th Cir.1999); See also Rumsfeld v. Padilla, 542 U.S.

 426, 442-443, 124 S.Ct. 2711 (2004). “Without such jurisdiction, the court has no

 authority to direct the actions of the restraining authority.” Id. Petitioner is currently

 incarcerated in Washington, Mississippi, which is located within the jurisdiction of the

 United States District Court for the Southern District of Mississippi. Accordingly, the


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 Western District of Louisiana lacks jurisdiction over both petitioner and his immediate

 custodian to consider the merits of Champkungsing’s petition or to grant Champkungsing

 the relief he requests. Lee and Rumsfeld, supra.

        Because this court is not the proper court to hear petitioner’s claims or to grant

 him the relief requested, the undersigned recommends that this petition be transferred to

 the United States District Court for the Southern District of Mississippi, where petitioner

 is currently incarcerated and where his immediate custodian is located.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this report and

 recommendation to file specific, written objections with the Clerk of Court. A party may

 respond to another party's objections within fourteen (14) days after being served with a

 copy of any objections or responses to the district judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within

 fourteen (14) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

 the factual findings or the legal conclusions accepted by the District Court, except

 upon grounds of plain error. See, Douglass v. United Services Automobile




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 Association, 79 F.3d 1415 (5th 1996).

       THUS DONE AND SIGNED in Chambers at Lafayette, Louisiana, this 18 th day of

 February, 2010.




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